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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW MEXICO

                                              Clerk's Minutes
                                  Before the Honorable James O. Browning


CASE NO. CV-17-1230-JB-LF                        DATE: November 26, 2019

TITLE: Lee vs. University of New Mexico, et al.

COURTROOM CLERK: J. Wright                       COURT REPORTER: Liberty recording – Vermejo
                                                 Courtroom

COURT IN SESSION: 9:39AM-9:49AM                  TOTAL TIME: 10 MINUTES

TYPE OF PROCEEDING: Discovery Issue hearing

COURT RULING:                COURT GRANTS PUSHING OUT ALL DEADLINES BY 45 DAYS

ATTORNEYS PRESENT FOR PLAINTIFF(S):              ATTORNEYS PRESENT FOR DEFENDANT(S):
 Alana DeYoung                                    Quinton Smith


PROCEEDINGS:

9:39AM        Court in session, counsel enter appearances telephonically; Judge appears
telephonically.
9:41AM        Quinton Smith states there is a scheduling issue regarding December 2, deadline
which is in place in the scheduling order, which will be extending the motions hearing and trial
setting deadlines. Mr. Quinton’s firm is closing and wants to push out December 2 to January
16, but it impacts trial deadline.
9:44AM        court inquires if Plaintiff has a problem pushing out all deadlines by 45 days.
9:44AM        Plaintiff has no opposition
9:45AM        Court will send out new so with all deadlines pushed out 45 days.
9:45AM        The first two weeks of April 2020 does not work for either party.
9:46AM        Court will push out all dates by 45 days and set the new trial date on a trailing docket;
Court will work with parties to give them a firm date later.
9:48AM        Parties have nothing further.
9:48AM        Court in recess.
9:49AM        Court in recess.
The Honorable James O. Browning                  -Page 1-                              Clerk’s Minutes
